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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 09-61465-CIV-HUCK/O’SULLIVAN

E-FAMTRIPS, INC.,
Plaintiff,

Vv.

 

RYAN GREPPER,

Defendant.
/

 

ORDER ON CONSENTED MOTION TO DISMISS

THIS CAUSE is before the Court upon the parties’ Consented Motion to Dismiss Pursuant
to Federal Rule of Civil Procedure 41(a)(1) (D.E. #17), filed January 25, 2010. The Court has
reviewed the Motion and is otherwise duly advised in the premises, Accordingly, it is hereby

ORDERED that this action is DISMISSED WITH PREJUDICE. All pending motions are
DENIED AS MOOT, and the case is CLOSED. The Court retains jurisdiction for 60 days to enforce
the parties’ settlement agreement.

DONE and ORDERED in Chambers, Miami, F lorida, J anuary 26, 2010.

 

 

So

Paul C. Huck
United States District Judge

Copies furnished to:
All Counsel of Record
